Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 1 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 2 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 3 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 4 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 5 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 6 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 7 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 8 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                         Exhibit O P Page 9 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 10 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 11 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 12 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 13 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 14 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 15 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 16 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 17 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 18 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 19 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 20 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 21 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 22 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 23 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 24 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 25 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 26 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 27 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 28 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 29 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 30 of 31
Case 19-32528-MBK   Doc 20-4 Filed 01/29/20 Entered 01/29/20 16:50:49   Desc
                        Exhibit O P Page 31 of 31
